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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KRISTEN BEHRENS, ESQUIRE as
Administratrix of the ESTATES OF:

GLORIA TREVISAN;
FATEMEH AFRASEHABI,
SAKINA AFRASEHABI;
AMAL AHMEDIN;
AMAYA AHMEDIN;
MOHAMMAD ALHAJALT;
ALEXANDRA ATALA;
HUSNA BEGUM;

LEENA BELKADI;
MALAK BELKADI;
OMAR BELKADI;
RAYMOND BERNARD;
VINCENT CHIEJINA;
BASSEM CHOUCAIR;
FATIMA CHOUCAIR;
MIERNA CHOUCAIR;
NADIA CHOUCAIR;
SIRRIA CHOUCAIR;
ZEINAB CHOUCAIR;
JOSEPH DANIELS;
JEREMIAH DEEN;
ZAINAB DEEN;
ANTHONY DISSON;
ESLAH ELGWAHRY;
MARIEM ELGWAHRY;
FATHIA AHMED ELSANOUSI;
ABDUL AZIZ EL-WAHABI;
FAOUZIA EL-WAHABI;
MEHDI EL-WAHABI;
NUR HUDA EL-WAHABI;
YASIN EL-WAHABI;
LOGAN GOMES;

MARCO GOTTARDI,;

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Civil Action No.:

DEFENDANTS ARCONIC INC. and
ARCONIC ARCHITECTURAL
PRODUCTS LLC’S

NOTICE OF REMOVAL
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BERKTI HAFTOM;

BIRUK HAFTOM;

FARAH HAMDAN;
MOHAMMED HAMID;
MOHAMMED HANIF;
YAHYA HASHIM;
FIRDAWS HASHIM;
HASHIM KEDIR;

YAQUB HASHIM;

FETHIA HASSAN;

HANIA HASSAN;

ABUFARS IBRAHIM;

ISRA IBRAHIM;

RANIA IBRAHIM;

AMNA MAHMUD IDRIS;
ALI YAWAR JAFARI;
NURA JEMAL;

HAMID KANI;

KHADIJA KHALLOUFI,
VICTORIA KING;
DEBORAH LAMPRELL;
GARY MAUNDERS;
MARY MENDY;

KAMRU MIAH;

LIGAYA MOORE;

DENIS MURPHY;
MOHAMED AMIED NEDA;
ISAAC PAULOS;

MARIA DEL PILAR BURTON;
STEVEN POWER;

JESSICA URBANO RAMIREZ;
KHADIJA SAYE;

SHEILA SMITH;
MOHAMEDNUR TUCCU;
ERNIE VITAL and
MARJORIE VITAL;
AHMED ABDEL-RASOUL;
MUSTAFA ABDU;

SABAH ABDULLAH;
ABDUL-WAHAB ABDULHAMID

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and MARYAM ADAM, h/w;
ABRAHAM ABEBE and TURUFAT
YILMA GIRMA, h/w
INDIVIDUALLY AND AS
PARENTS AND NATURAL
GUARDIANS OF ABEM
ABRAHAM;

KAREN ABOUD, INDIVIDUALLY
AND AS PARENT AND NATURAL
GUARDIAN OF ADEL ABOUD and
ADAM ABOUD;

ELSA AFEWORKI;

MOHAMED AHMED and RANDA
AL-ARASI, h/w, INDIVIDUALLY
AND AS PARENTS AND NATURAL
GUARDIANS OF TALEEN AHMED
and CYREEN AHMED;

FADUMO AHMED;

KHALID AHMED;

OMAR ALHAJ ALI;

MARIA DE FATIMA ALVES and
MANUEL MIGUEL ALVES, h/w;
INES TAVARES ALVES;

TIAGO ALVES;

MERON ARAYA;

ETHIOPIA ASSEFA;

SIED BAYAN and NADIA YOUSEF,
h/w;

JOHN BEADLE;

SAFA HAMDAN, AS LEGAL
GUARDIAN

OF TASNIM BELKADI;

ELPIDIO BONIFACIO and ROSITA
BONIFACIO, h/w;

NICHOLAS BURTON;

VIRGILIO CASTRO;

ANN CHANCE;

LEE CHAPMAN and CHIA-YUAN
NAOMI LI, h/w;

New Nee Nee ee ee ee eee ee ee eee ee ee ee eee eee eee ee ee”
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SALAH EDDINE CHEBIOUNI;
ZAK CHEBIOUNI

FUNG-HEE CHEUNG
CHIN-HSUAN LYDIA LIAO

JOSE COSTA COTELO and
DORINDA

SUAREZ CHANS, h/w;
KATARZYNA DABROWSKA and
ROY SMITH, h/w, INDIVIDUALLY
AND AS PARENTS AND NATURAL
GUARDIANS OF GEORGINA
SMITH and KRISTINA SMITH;
EDWARD DAFFARN;

SAM DANIELS;

HIWOT DAGNACHEW and
WINTOM TEMESGEN, h/w,
INDIVIDUALLY AND AS
PARENTS AND NATURAL
GUARDIANS OF BIRUK HENOCK
AND YABSIRRA HENOCK;
ALEMISHET DEMISSIE;

PETRA DOULOVA and LEROY
AUGUSTUS, h/w;

BELLAL EL-GUENUNI and RABIA
YAHYA, h/w, INDIVIDUALLY AND
AS PARENTS AND NATURAL
GUARDIANS OF NAILA EL-
GUENUNI, MOHAMED AYMEN
EL-GUENUNI, AYEESHA EL-
GUENUNI, and RANIYA EL-
GUENUNI,;

HANAN WAHABI, INDIVIDUALLY
AND AS PARENT AND NATURAL
GUARDIAN

OF SARA CHEBIOUNI;

MOUNA EL-OGBANI and YOUSSEF
KHALLOUD, h/w, INDIVIDUALLY
AND AS PARENTS AND NATURAL
GUARDIANS OF HAFSA
KHALLOUD, NUSAYBAH

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KHALLOUD, and ZAID
KHALLOUD

NATASHA ELCOCK,
INDIVIDUALLY AND AS PARENT
AND NATURAL GUARDIAN OF
SHAYLA SMITH-ELCOCK;
YEHUALASHET ENYEW;
RICHARD FLETCHER and HIME
GASHAW, h/w, INDIVIDUALLY
AND AS PARENTS AND NATURAL
GUARDIANS OF SOPHIA LILLY
NATY FLETCHER;

HELEN GEBREMESKEL,
INDIVIDUALLY AND AS PARENT
AND NATURAL GUARDIAN OF
LULYA BENYAM;

CLARITA GHAVIMI;

MARCIO GOMES,
INDIVIDUALLY AND AS
PARENTS AND NATURAL
GUARDIANS OF LUANA
GOMES and MEGAN GOMES;
ANDREIA PERESTRELO;
CHARMAINE GREENRIDGE;
DANIEL GRIFFIN;

SHARON HALEY;

LINA HAMIDE;

WILLIAM THOMSON and MARY
HANLEY, h/w;

CATHERINE HANLEY;

AVNI HAXHISEFA;

ADRIANA ZYMBERAJ,
INDIVIDUALLY AND AS PARENT
AND NATURAL GUARDIAN OF
ALT HAXHISEFA;

ALK HAXHISEFA;

MAKREM HARZI and RAWDA
SAID, h/w, INDIVIDUALLY AND
AS PARENTS AND NATURAL
GUARDIANS OF YUSUF HARZI;

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ABDIRAHMAN SALAH HIRSIJ;
SUHAYB SALAH HIRSI,

VAN QUANG HO;

HOANG KHANH QUANG;
EDUARDO IGNACIO and
ERLINDA IGNACIO, h/w;
WESLEY IGNACIO and
MADYLYN IGNACIO, h/w,
INDIVIDUALLY AND AS
PARENTS AND NATURAL
GUARDIANS OF MADISON
RYLEE IGNACIO;

NADIA JAFARI;

FATIMA JAFARI;

MARIA JAFARI;

JOSEPH JOHN, INDIVIDUALLY
AND AS PARENT AND NATURAL
GUARDIAN FOR MALACHI ZION
JOSEPH JOHN;

CORINNE JONES, INDIVIDUALLY
AND AS PARENT AND NATURAL
GUARDIAN OF AMIEL and
DANEL MILLER;

BEHAILU GOBENA KEBEDE;
FARSHID KAFICHERAGHI,
MILAD KAREEM;

BETTY KASOTE;

MESROB KASSEMDJIAN;
SHARON LACTI, INDIVIDUALLY
AND AS PARENT AND
NATURAL GUARDIAN OF
CHLOE LACI,;

MONICA LOKKO;

DAVID LEWIS;

OCTINIA LEWIS;

MIRAN LOVSIN and SUZANA
LOVSIN, h/w; BRANISLAV
LUKIC;

HANIFE MACIT and SENER
MACIT, h/w;

New Nee Ne ee ee ee” ee” ee ee” ee” ee ee” ee” ee ee ee ee” ee” ee ee’ ee” ee ee eee ee” ee eee ee ee ee”

 
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MOHAMMED RASOUL and
MUNIRA MAHMUD, h/w,
INDIVIDUALLY AND AS
PARENTS AND NATURAL
GUARDIANS OF MOHAMMED
ALHASSAN RASOUL and ZAHRA
RASOUL;

SEPIDEH MINAEI MOGHADDAM;
AMINA MOHAMED;

AMNA MOHAMED;

ALISON MOSES;

NAGAWA PROSSY
NALUKWAGO;

RESHAD NAQSHBANDI,
FARHAD SHEKEB NEDA;
SHAKILA FLORA NEDA;

EMMA O'CONNOR;

KERRY O'HARA;

GITARA PAHLAVANI

MICHAEL PARAMASIVAN;
CHIRAAG PATEL ;

SHANTILAL PATEL and KIRAN
PATEL, h/w;

ELISA RABAYA;

AZIZA RAIHANI;

RAMIRO URBANO RODRIGUEZ
and ADRIANA RAMIREZ, h/w;
RHEA ROJO;

ANTONIO RONCOLATO;
REBECCA ROSS;

REBIN SABIR;

GENET SHA WO and PAULOS
TEKLE, h/w;

ANTHONY SMITH;

ELIZABETH SOBIESZCZAK and
MICHAEL SOBIESZCZAK, h/w;
FLORENTYNA SOBIESZCZAK;
ADAM SUPAREOGSANOND);
CHALALAI SUPAROEKSANOND;

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WAEWTA SUPAREOGSANOND;
RITA TANKARIAN;

LUKE TOWNER;

MARIKO TOYOSHIMA-LEWIS,
INDIVIDUALLY AND AS PARENT
AND NATURAL GUARDIAN OF
TATYOU TOYOSHIMA-LEWIS,
AOZORA TOYOSHIMA-LEWIS,
AND KOHANA TOYOSHIMA-
LEWIS;

CARMEN VIEIRO and JOSE

VIEIRO, h/w

YOHANNES TESFAY and MERON
MEKONNEN, h/w, INDIVIDUALLY
AND AS PARENTS AND NATURAL
GUARDIANS OF LIYA YOHANNES
and YOHANA YOHANNES and
EAMON ZADA

Plaintiffs
v.

ARCONIC, INC.;

ALCOA INC.;

ARCONIC ARCHITECTURAL
PRODUCTS, LLC;

WHIRLPOOL CORPORATION;
SAINT-GOBAIN CORPORATION
d/b/a SAINT-GOBAIN NORTH
AMERICAN and/or d/b/a CELOTEX;
JOHN DOES (1-99); ABC
CORPORATIONS (1-99); XYZ
CORPORATIONS (1-99)

Defendants

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TO THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

Defendants Arconic Inc. and Arconic Architectural Products LLC (“Arconic
Defendants”)! hereby remove this action from the Court of Common Pleas of
Philadelphia County to the United States District Court for the Eastern District of
Pennsylvania. Removal is proper under the Class Action Fairness Act of 2005
(“CAFA”), 28 U.S.C. §§ 1332, 1441, 1446, and 1453. Removal is further proper on
the basis of diversity jurisdiction under 28 U.S.C. §§ 1332, 1441, 1446.

Background

l. Plaintiffs filed this action on June 6, 2019, against the Arconic
Defendants, as well as Whirlpool Corporation, Saint-Gobain Corporation, and other
unnamed corporations and individuals. The complaint alleges Pennsylvania state-
law claims on behalf of 247 UK residents relating to the 2017 fire at Grenfell Tower
in the UK, including claims for products liability and wrongful death.

2. Plaintiffs filed the case under the caption Behrens et. al. v. Arconic, Inc.
et al., in the Court of Common Pleas of Philadelphia County, Case No. 190605311.

3. Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all pleadings

and documents filed and served to date in this action are attached as Exhibit 1.

 

' The Plaintiffs also named as a defendant “Alcoa, Inc.” Alcoa Inc. changed its name to Arconic
Inc. in November 2016, and is not a separate entity from Arconic Inc. Therefore, all references in
this pleading to “Arconic Inc.” or the Arconic Defendants encompass the formerly-named Alcoa
Inc.
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4, The Complaint was served on the Arconic Defendants on June 7, 2019.
5. This notice of removal is timely under 28 U.S.C. § 1446(b).
Removal is Proper Under CAFA

6. The Court has original subject matter jurisdiction over plaintiffs’ claims
under CAFA because this case is a “mass action” that satisfies CAFA’s
requirements.

7. CAFA’s definition of “class action” includes a “mass action.” 28
U.S.C. § 1332(d)(11). This case satisfies all requirements for removal of a “mass
action.”

8. First, a “mass action” involves “monetary relief claims of 100 or more
persons.” Jd. The plaintiffs’ complaint lists 247 plaintiffs. See Ex. 1 at 1, “Civil
Cover Sheet.”

9. Second, these monetary relief claims must be “proposed to be tried
jointly on the ground that the plaintiffs’ claims involve common questions of law or
fact[.]” “Where, as here, more than 100 plaintiffs file a single complaint containing
claims involving common questions of law and fact, a proposal for a joint trial will
be presumed unless an explicit and unambiguous disclaimer is included.” Ramirez
v. Vintage Pharm., LLC, 852 F.3d 324, 327 (3d Cir. 2017). Because there is no such
disclaimer, the complaint satisfies CAFA’s requirement that the claims be proposed

for a joint trial.
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10. Third, “jurisdiction shall exist only over those plaintiffs whose claims
in a mass action satisfy the [$75,000] jurisdictional amount requirements under
subsection (a).” 28 U.S.C. § 1332(d)(11). The complaint does not allege the amount
in controversy in any individual case. Under such circumstances, defendants “need
include only a plausible allegation that the amount in controversy exceeds the
jurisdictional threshold.” Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct.
547, 554 (2014). Only if “plaintiff contests, or the court questions, the defendant’s
allegations” must defendants proffer evidence to show that the jurisdictional
minimum is satisfied. Id.

11. The Arconic Defendants hereby allege that the claims of each of the
247 individual plaintiffs put in controversy amounts in excess of $75,000. Each of
the plaintiffs seek compensatory damages of an undefined sum as well as punitive
damages. Ex. 1 J] 561-1168. The plaintiffs claim damages for injuries including
wrongful death, significant physical and emotional suffering, medical bills, loss of
income, and more. Jbid. Ata recent press conference, plaintiffs’ counsel claimed
that this case is “one of the largest products liability cases in history.” Ex. 2, The
Times, “Grenfell families launch US lawsuit against cladding and fridge makers”
(6/11/19). Thus, the Arconic Defendants allege that plaintiffs intend to seek in

excess of $75,000 for each individual plaintiff.
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12. Under CAFA, the district courts “have original jurisdiction of any civil
action” (1) “in which the matter in controversy exceeds the sum or value of
$5,000,000,” and (2) which “is a class action in which .. . any member of a class of
plaintiffs is a foreign state or a citizen or subject of a foreign state and any defendant
is a citizen of a state.” 28 U.S.C. § 1332(d)(2). Both of these requirements are met
here.

13. The plaintiffs have not yet quantified the amount in controversy in the
aggregate of the plaintiffs’ claims. As set forth above, the Arconic Defendants allege
each of the 247 individual plaintiffs claims put in controversy more than $75,000,
meaning the total amount in controversy exceeds $5,000,000. Each of the plaintiffs
seek compensatory damages of an undefined sum as well as punitive damages. Ex.
1 ¥ 561-1168.

14. This case “is a class action in which ... any member of a class of
plaintiffs is a foreign state or a citizen or subject of a foreign state and any defendant
is a citizen ofa state.” 28 U.S.C. § 1332(d)(2). As a “mass action,” the case qualifies
as a “class action” for purposes of § 1332(d)(2). See supra. Defendant Arconic Inc.
is a citizen “of a state,” as it is incorporated in Delaware and has its headquarters in
Pittsburgh, Pennsylvania. Ex. 1 4 150; 28 U.S.C. § 1332(c)(1). All 247 plaintiffs
are citizens or subjects of the UK. Ex. 1 9] 29-142. This includes the 69 estates of

deceased individuals purportedly represented by an administratrix. Ex. 1 § 27.
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Although the claims are brought by the administratrix, each estate is considered to
have the decedent’s citizenship—here, UK subjects and presumably UK citizens.
See 28 U.S.C. § 1332(c)(2) (“the legal representative of the estate of a decedent shall
be deemed to be a citizen only of the same State as the decedent”); Ex. 1, “Exhibit
A” (listing each of the decedents as residents of Grenfell Tower in the UK).

15. Because over two-thirds of the plaintiffs are citizens of the UK, the
local controversy exceptions in 28 U.S.C. §§ 1332(d)(3)-(4) do not apply. Nor do
any other exceptions to CAFA apply here.”

16. Because removal is sought under CAFA, removal is proper “without
regard to whether any defendant is a citizen of the State in which the action is
brought,” and it is not necessary to obtain consent of the other defendants for
removal. 28 U.S.C. § 1453(b). In any event, the remaining defendants have
indicated that they consent to removal. See Ex. 3, Consent to Removal.

Removal is Proper due to Diversity

17. Additionally, removal is proper due to the diversity of citizenship
between the parties pursuant to 28 U.S.C. §§ 1332(a), 1441.

18. Under § 1332(a)(2), diversity jurisdiction encompasses lawsuits
between “citizens of a State and citizens or subjects of a foreign state....” Plaintiffs

allege that each of the defendants are citizens of a state by virtue of incorporation

 

Tn any event, the plaintiffs would bear the burden of showing that any CAFA exception applied.

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and/or location of principle place of business. Ex. 1 §§ 150 (Arconic); 158 (AAP
LLC); 174 (Saint-Gobain); 187 (Whirlpool); 28 U.S.C. § 1332(c)(1).2 By contrast,
all of the plaintiffs are citizens or subjects of a foreign state. Ex. 1 J§ 29-142. This
includes the 69 estates of deceased individuals purportedly represented by an
administratrix. Ex. 1 927. Although the claims are brought by the administratrix,
each estate is considered to have the decedent’s citizenship—here, UK subjects and
presumably UK citizens. See 28 U.S.C. § 1332(c)(2) (“the legal representative of
the estate of a decedent shall be deemed to be a citizen only of the same State as the
decedent”); Ex. 1, “Exhibit A” (listing each of the decedents as residents of Grenfell
Tower in the UK).

19. Where the parties are diverse, federal courts have original jurisdiction
“of all civil actions where the matter in controversy exceeds the sum or value of
$75,000.” 28 U.S.C. § 1332(a). The complaint does not allege the amount in
controversy in any individual case. Under such circumstances, defendants “need
include only a plausible allegation that the amount in controversy exceeds the
jurisdictional threshold.” Dart, 135 S. Ct. at 554. Only if “plaintiff contests, or the
court questions, the defendant’s allegations” must defendants proffer evidence to

show that the jurisdictional minimum is satisfied. Jd. As discussed above, the

 

3 The Arconic Defendants clarify that they do not hereby admit the allegations contained in the
cited paragraphs, except to the extent that the defendants are citizens of a State.

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Arconic Defendants allege that the plaintiffs’ claims, both individually and in the
aggregate, put in controversy amounts in excess of $75,000.

20. Under 28 U.S.C. § 1441(b)(2), “[a] civil action otherwise removable
solely on the basis of the jurisdiction under section 1332(a) of this title, may not be
removed if any of the parties in interest properly joined and served as defendants is
a citizen of the State in which such action is brought.” However, this provision does
not apply because the action is not removable “solely on the basis” of diversity under
section 1332(a). It is also removable under CAFA, §§ 1332(d)(2), 1453(b). See
supra. Alternatively, the Arconic Defendants allege that any Defendants named
herein who are Pennsylvania citizens are not properly joined.

21. All defendants to this action have indicated that they consent to
removal. See Ex. 3, Consent to Removal.

Removal to This Jurisdiction is Proper

22. Pursuant to 28 U.S.C. §§ 1332, 1441, 1446, and 1453, removal of this
action from the Court of Common Pleas of Philadelphia County to the United States
District Court for the Eastern District of Pennsylvania is appropriate.

23. The removal of this action to this Court is proper under 28 U.S.C.
§ 1441(a) because the Court of Common Pleas of Philadelphia County is located

within this federal judicial district.
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24. Counsel for the Arconic Defendants hereby certify that they will file a

copy of this Notice of Removal with the Clerk of the Court of Common Pleas of

Philadelphia County and provide notice of this filing to the plaintiffs, as required by

28 U.S.C. § 1446(d).

June 19, 2019

DLA Piper LLP (US)

 

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Ilana H. Eisenstein

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Philadelphia, PA 19103-7300
Telephone: 215.656.3300
Facsimile: 215.656.3301

Counsel for Arconic Inc. and Arconic
Architectural Products LLC
